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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA,                         §
                                                  §
         Plaintiff,                               §
VS.                                               §   MAGISTRATE ACTION NO. C-07-543
                                                  §
DAVID ARROYO, et al,                              §
                                                  §
         Defendant.                               §


      MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL
          AS TO MATERIAL WITNESS MARIA VILLARREAL-SAENZ


       A detention hearing for material witness Maria Villarreal-Saenz was held in accordance

with the Bail Reform Act, 18 U.S.C. § 3142(f). The witness is detained because there is a

serious risk that she will not appear for court as required. The witness is an undocumented alien

from Mexico. If released on bond she is subject to a detainer placed by the Immigration and

Customs Enforcement (ICE) and would be scheduled for deportation. If deported, the witness

would not be available to serve as a witness in this matter.

       The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of a court of the United States or on request of an attorney for the Government, the person




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in charge of the corrections facility shall deliver the defendant to the United States marshal for

the purpose of an appearance in connection with a court proceeding.

       ORDERED this 21st day of September, 2007.




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